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  EXHIBIT 6
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GM Took 5 Years to Fix a Full-Takeover Hack in Millions of OnStar Cars | WIRED                                                                9/25/15, 12:03 PM




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                            FULL-TAKEOVER HACK IN
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         1012               MILLIONS OF ONSTAR CARS
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         COMMENT
         21




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                            An attendee demonstrates the OnStar dash system on a Chevrolet Impala during the 2014
                                                                                                                              LATEST NEWS
                            North American International Auto Show.    DANIEL ACKER/BLOOMBERG/GETTY IMAGES
                                                                                                                                    GADGET LAB PODCAST
                                                                                                                                    Gadget Lab Podcast: Test
                                                                                                                                    Mode
                                                                                                                                    34 MINS
                                   WHEN A PAIR of security researchers showed they could hack

                                   a Jeep over the Internet earlier this summer to hijack its
                                                                                                                                    MOVIES
                                   brakes and transmission, the impact was swift and                                                Here Is Your WIRED Star
                                   explosive: Chrysler issued a software fix before the research                                    Wars Challenge for Day
                                                                                                                                    145
                                   was even made public. The National Highway Traffic and                                           4 HOURS

                                   Safety Administration launched an investigation. Within


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                                   days Chrysler issued a 1.4 million vehicle recall.                    SPONSORED



                                   But when another group of researchers quietly pulled off
                                   that same automotive magic trick five years earlier, their
                                   work was answered with exactly none of those reactions.
                                   That’s in part because the prior group of car hackers,
                                   researchers at the University of California at San Diego and
                                   the University of Washington, chose not to publicly name
                                   the make and model of the vehicle they tested, which has
                                   since been revealed to be General Motors’ 2009 Chevy
                                   Impala. They also discreetly shared their exploit code only
                                   with GM itself rather than publish it.

                                   The result, WIRED has learned, is that GM took nearly five
                                   years to fully protect its vehicles from the hacking
                                   technique, which the researchers privately disclosed to the
                                   auto giant and to the National Highway Traffic Safety
                                   Administration in the spring of 2010. For nearly half a
                                   decade, millions of GM cars and trucks were vulnerable to
                                   that privately known attack, a remote exploit that targeted
                                   its OnStar dashboard computer and was capable of
                                   everything from tracking vehicles to engaging their brakes
                                   at high speed to disabling brakes altogether.

                                                                             “We basically had
                                                                             complete control of the
                                                                             car except the steering,”
                            GM’s years-long failure to                       says Karl Koscher, one
                            fully protect its vehicles                       of the security
                            from that attack doesn’t                         researchers who helped
                            reflect on GM’s negligence,                      to develop the attack.
                            so much as a lack of security                    “Certainly it would have
                            preparation in the entire                        been better if it had
                            industry of Internet-                            been patched sooner.”
                            connected cars.
                                                                             But the researchers
                                                                             argue that GM’s years-
                                                                             long failure to fully
                                                                             protect its vehicles from
                                   that attack doesn’t reflect on GM’s negligence, so much as a
                                   lack of security preparation in the entire industry of
                                   Internet-connected cars. Automakers five years ago simply
                                   weren’t equipped to fix hackable bugs in their vehicles’
                                   software, the way that Microsoft and Google have long fixed
                                   bugs within weeks or even hours after they are disclosed to
                                   them. And many of those companies may not be much better
                                   prepared today.

                                   “They just didn’t have the capabilities we take for granted in
                                   the desktop and server world,” says Stefan Savage, the UCSD
                                   professor who led one of the two university teams who


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                                   worked together to hack the Impala. “It’s kind of sad that
                                   the whole industry was not in a place to deal with this at the
                                   time, and that today, five years later, there still isn’t a
                                   universal incident response and update system that exists.”

                                   In fact, GM tells WIRED that it has since developed the
                                   ability to push so-called “over-the-air” updates to its
                                   vehicles. The company eventually used that technique to
                                   patch the software in its OnStar computers via the same
                                   cellular Internet connection the UCSD and UW researchers
                                   exploited to hack the Impala. Starting in November of 2014,
                                   through the first months of 2015, the company says it
                                   silently pushed out a software update over its Verizon
                                   network to millions of vehicle with the vulnerable
                                   Generation 8 OnStar computer.




                                   Security researcher Karl Koscher (L) at DEFCON.   RYAN YOUNG FOR WIRED




                                   Aside from the strangely delayed timing of that patch, even
                                   the existence of any cellular update feature comes as a
                                   surprise to the UCSD and UW researchers. They had believed
                                   that the OnStar computers could be patched only by driving
                                   them one-by-one to a dealership, a cumbersome and
                                   expensive fix that would have likely required a recall.

                                   GM chief product cybersecurity officer Jeff Massimilla hints
                                   to WIRED that performing the cellular update on five-year-
                                   old OnStar computers required some sort of clever hack,
                                   though he refused to share details. “We provided a software
                                   update over the air that allowed us to remediate the
                                   vulnerability,” Massimilla writes in an email. “We were able
                                   to find a way to deliver over-the-air updates on a system
                                   that was not necessarily designed to do so.”



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                                   But Massimilla also admits that GM took so long to fully
                                   protect its vehicles because it simply wasn’t ready in 2010 to
                                   deal with the threat of car hackers. He contrasts that
                                   response to GM’s cybersecurity practices today, such as
                                   issuing a fix in just two days when it was alerted to a flaw in
                                   its iOS OnStar app in July. “The auto industry as a whole,
                                   like many other industries, is focused on applying the
                                   appropriate emphasis on cybersecurity,” he writes. “Five
                                   years ago, the organization was not structured optimally to
                                   fully address the concern. Today, that’s no longer the case.”



                                   A Brilliant Hack Lullaby Ahead of Its Time
                                   GM’s glacial response is partly a result of just how far ahead
                                   of its time the UCSD and UW researchers’ OnStar attack was.
                                   Their technique, described in a pair of papers in 2010 and
                                   2011, represented a brilliant and unprecedented chain of
                                   hacker attacks integrated into a single exploit.

                                   The intrusion technique began with a phone call to the
                                   Impala’s OnStar computer. Because Verizon’s voice network
                                   coverage was more reliable than its data network, the
                                   OnStar computers were programmed to establish a
                                   connection to any computer that played a certain series of
                                   audio tones, like an old-fashioned modem. UW’s Koscher
                                   reverse engineered that audio protocol and created an mp3
                                   file that could trigger a vulnerability in the computer known
                                   as a “buffer overflow.”

                                                                             From that initial audio
                                                                             attack, the attackers
                                                                             could pivot to take
                            Put simply, “you play this                       control of the OnStar
                            song to it, and the car’s                        computer’s higher-
                            taken over,” says UCSD’s                         bandwidth data
                            Savage.                                          connection and finally
                                                                             penetrate the car’s CAN
                                                                             bus, the collection of
                                                                             networked computers
                                   inside a vehicle that control everything from its windshield
                                   wipers to its brakes and transmission. Put simply, “you play
                                   this song to it, and the car’s taken over,” says UCSD’s
                                   Savage.



                                   How GM Tried (And Failed) to Fix It: A Timeline
                                   GM did, in fact, make real efforts between 2010 and late 2014
                                   to shield its vehicles from that attack method, and patched
                                   the flaws it used in later versions of OnStar. But until the



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                                   surreptitious over-the-air patch it finished rolling out this
                                   year, none of its security measures fully prevented the
                                   exploit in vehicles using the vulnerable eighth generation
                                   OnStar units. Given that GM told the FCC it had two million
                                   Generation 9 Onstar computers deployed in 2011, former
                                   UCSD researcher Stephen Checkoway estimates that it had
                                   sold at least that many Generation 8 OnStar-enabled
                                   vehicles, too. “I would expect there were still several million
                                   vulnerable vehicles on the road,” Checkoway says.

                                   Instead of updating the software on those Generation 8
                                   OnStar units, GM first tried to block the attack on its cellular
                                   network. Sometime in 2011, it had Verizon put in a place a
                                   new measure on its wireless network to block data
                                   connections from OnStar computers to any server other
                                   than those approved as those belonging to GM.



                            Safari Power Saver
                            Click to Start Flash Plug-in




                                   But the researchers quickly found that a flaw existed in that
                                   fix, too. One in every 10 or 12 times that they restarted their
                                   Impala, its OnStar registered with the Verizon network in a
                                   way that somehow failed to prevent it from connecting to a
                                   malicious server, allowing their exploit to work again; An
                                   attacker could have auto-dialed thousands of phone
                                   numbers to find and hack the fraction of vehicles in that
                                   unsafe mode. Even the researchers say they never fully
                                   understood why the Verizon network protection measure
                                   failed, though they say they warned GM about the problem
                                   within a few months of finding it.

                                   GM claims that it responded by tweaking its network
                                   protection again, but even those secondary measures seem
                                   to have failed. In 2012, the researchers were able to
                                   demonstrate their Impala hack for a PBS Nova documentary
                                   despite Verizon’s and GM’s attempts to block it. In late 2014,
                                   they demonstrated it yet again for a 60 Minutes episode that
                                   would air in February of 2015. (For both shows they
                                   carefully masking-taped the car’s logos to prevent it from
                                   being identified, though car blog Jalopnik nonetheless
                                   identified the Impala from the 60 Minutes demo.)

                                   Here’s Koscher demonstrating the exploit on 60 Minutes
                                   earlier this year:




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                                     car hacked on 60 minutes




                                   The Case For Publicly Disclosing Hacks?
                                   GM’s long-running failure to fully protect its vehicles from
                                   the OnStar exploit, compared with Chrysler’s immediate
                                   patch and recall in July, could be interpreted as a lesson for
                                   hackers who keep their attacks secret rather than release
                                   them to motivate companies to quickly patch software.
                                   Chrysler was pressured into its response in part because
                                   hackers Charlie Miller and Chris Valasek staged a flashy
                                   demonstration for WIRED, named their target Jeep’s make
                                   and model, and even published some portion of their code.
                                   “One of the reasons we chose the route we chose—this big
                                   to-do—is the takeaway we’d gotten from the academics’
                                   work,” says Miller. “It didn’t have the impact we wanted to
                                   have.”

                                   But UCSD professor Savage argues that publicly releasing
                                   details of the OnStar hack in 2010 might have done more
                                   harm than good. Even if key elements had been hidden, any
                                   publicity could have still enabled malicious hackers to
                                   rebuild the attack at a time when GM was unprepared to
                                   protect drivers from it. “This was so damn new to
                                   everybody: the regulators, the industry, the suppliers,” he
                                   says. “Just figuring out how to wrap their heads around it
                                   was a significant undertaking.”

                                   Savage also notes that he’s seen no evidence that the attack
                                   was discovered by any hackers in the five years that it
                                   remained secretly viable. He admits, however, that it could
                                   have been stealthily exploited by sophisticated state-
                                   sponsored hackers. Savage says his team briefed a wide
                                   variety of government and even military agencies about
                                   their work—those interested in “both defense and offense,”
                                   he says—though they were careful not to disclose the
                                   Impala’s make or model even in those private meetings.




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                                      Still, Savage says that if he were doing the same research
                                      today, he’d reconsider the decision to shield GM from public
                                      pressure. When he, Koscher, and other researchers revealed
                                      another car hacking technique in August, for instance—this
                                      time hijacking cars through a common Internet-connected
                                      gadget many drivers plug into their dashboards for
                                      insurance purposes—they publicly named every company
                                      whose bugs they’d exploited.

                                      That shift to full-disclosure mode, Savage says, comes from
                                      watching car companies over the last five years as they’ve
                                      become aware of the possibilities of car hacking—partly
                                      thanks to UCSD and UW’s research. Today, publishing car
                                      hacking techniques may be a powerful method to force
                                      companies to take responsibility for their vehicles’ security.

                                      In other words, automakers shouldn’t expect him or any
                                      other researcher to keep their bugs hidden for five years
                                      again. “If I was to find a new one of these exploits today, I
                                      might make different choices,” he says. “For companies
                                      now, protecting cars is more a question of resources and
                                      will. But not ignorance.”



                                      #CAR HACKING #CHRYSLER #GM #INTERNET-CONNECTED CARS




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                                                                                                                        NICK STOCKTON
                                                                                                                        2,500 Tons of Rock Fell Off
                                                                                                                        Half Dome and Nobody
                                                                                                                        Noticed



                                                                                                                        LIZ STINSON
                                                                                                                        This Bridge Goes Nowhere,
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